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12 Tracey Carter
13
                       IN THE UNITED STATES DISTRICT COURT
14
                              FOR THE DISTRICT OF ARIZONA
15
16 Tracey Carter,                                  Case No.: 2:17-cv-02918-DGC
17
                    Plaintiff,
18
          vs.                                      NOTICE OF SETTLEMENT AS TO
19
                                                   DEFENDANT, TRANS UNION, LLC
20 Trans Union, LLC,
21 a Delaware limited liability company; and
   Afni, Inc.,
22 an Illinois corporation,
23
                    Defendants.
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 1         NOTICE IS HEREBY GIVEN that Plaintiff and Defendant, Trans Union, LLC,
 2
     in the above-captioned case have reached a settlement. Plaintiff anticipates filing a
 3
 4 Stipulation for Dismissal with Prejudice and Proposed Order pursuant to Fed. R. Civ.
 5 P. 41(a) within 60 days. Plaintiff has now settled with all Defendants in this matter.
 6
   In light of this Notice of Settlement, the Parties respectfully request that the Court
 7
 8 vacate the Scheduling Conference set for Thursday, December 7, 2017, at 3:00 p.m.
 9
10
11         Respectfully Submitted,          Dated: December 6, 2017
12
13                                           /s/ Trinette G. Kent
14                                           TRINETTE G. KENT (025180)
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